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                                     ORDERED.

  Dated: January 07, 2020




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION
                                      www.flmb.uscourts.gov

  In re:                                                )
                                                        )
  ASBEL VICIEDO,                                        )   Case No. 3:18-bk-03184-JAF
                                                        )   Chapter 7
                    Debtor.                             )
                                                        )

                                                        )
  CREAL DALLAS, LLC,                                    )
                                                        )   Adv. No. 3:19-ap-00007-JAF
                    Plaintiff,                          )
  vs.                                                   )
                                                        )
  ASBEL VICIEDO,                                        )
                                                        )
                    Defendant.                          )
                                                        )


                                         JUDGMENT

           This matter came before the Court on the Complaint to Determine Dichargeability of

Debt (Doc. 1) filed by Creal Dallas, LLC, the Plaintiff herein, against Asbel Viciedo, the Debtor

and Defendant herein. A final evidentiary hearing was held on November 26, 2019. After

reviewing the pleadings and evidence, hearing live testimony and argument, and in conformity
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with and pursuant to the Memorandum, Decision, and Findings of Fact entered

contemporaneously herewith, it is

       ORDERED that:

       1. Judgment is entered in favor of Debtor/Defendant, Asbel Viciedo.

       2. The indebtedness owed to the Plaintiff Creal Dallas, LLC by the Debtor/Defendant

           Asbel Viciedo is DISCHARGED.



Service of this Order other than by CM/ECF is not required. Local Rule 9013-3(b).




                                               2
